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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

   KARLA KELLER,                                     Case No:

            Plaintiff,
                                                     COMPLAINT FOR VIOLATION OF
            v.                                       THE FEDERAL SECURITIES LAWS

   FLIR SYSTEMS, INC., EARL R. LEWIS,                JURY TRIAL DEMANDED
   JAMES J. CANNON, JOHN D. CARTER,
   WILLIAM W. CROUCH, CATHERINE A.
   HALLIGAN, ANGUS L. MACDONALD,
   MICHAEL T. SMITH, CATHY
   STAUFFER, ROBERT S. TYRER, JOHN
   W. WOOD, JR., and STEVEN E. WYNNE,

            Defendants.


       Plaintiff Karla Keller (“Plaintiff”), by Plaintiff’s undersigned attorneys, for Plaintiff’s

complaint against Defendants (defined below), alleges the following based upon personal

knowledge as to Plaintiff and Plaintiff’s own acts, and upon information and belief as to all other

matters, based upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys.

                                  NATURE OF THE ACTION

       1.        This is an action against FLIR Systems, Inc. (“FLIR” or the “Company”) and its

Board of Directors (the “Board” or the “Individual Defendants”) for their violations of Sections

14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a)



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and 78t(a), and Rule 14a-9 promulgated thereunder by the SEC, 17 C.F.R. § 240.14a-9, in

connection with the proposed acquisition (the “Proposed Transaction”) of FLIR by Teledyne

Technologies Incorporated (“Teledyne”) and its wholly-owned subsidiaries, Firework Merger Sub

I, Inc. (“Merger Sub I”) and Firework Merger Sub II, LLC (“Merger Sub II”).

                                 JURISDICTION AND VENUE

         2.    The claims asserted herein arise under and pursuant to Sections 14(a) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78n(a) and 78t(a)) and Rule 14a-9 promulgated thereunder by the

SEC (17 C.F.R. § 240.14a-9).

         3.    This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

         4.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and Section 27 of

the Exchange Act (15 U.S.C. § 78aa(c)) as a substantial portion of the transactions and wrongs

complained of herein had an effect in this District, and the alleged misstatements entered and the

subsequent damages occurred in this District.

         5.    In connection with the acts, conduct and other wrongs alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mails, interstate telephone communications and the

facilities of the national securities exchange.

                                             PARTIES

         6.    Plaintiff is, and has been at all relevant times hereto, an owner of FLIR common

stock.

         7.    Defendant FLIR, together with its subsidiaries, designs, develops, markets, and

distributes thermal imaging systems, visible-light imaging systems, locater systems, measurement



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and diagnostic systems, and threat-detection solutions worldwide. The Company is incorporated

in Delaware. The Company’s common stock trades on the Nasdaq under the ticker symbol,

“FLIR.”

       8.     Defendant Earl R. Lewis (“Lewis”) is Chairman of the Board of the Company.

       9.     Defendant James J. Cannon (“Cannon”) is President, Chief Executive Officer

(“CEO”), and a director of the Company.

       10.    Defendant John D. Carter (“Carter”) is a director of the Company.

       11.    Defendant William W. Crouch (“Crouch”) is a director of the Company.

       12.    Defendant Catherine A. Halligan (“Halligan”) is a director of the Company.

       13.    Defendant Angus L. Macdonald (“Macdonald”) is a director of the Company.

       14.    Defendant Michael T. Smith (“Smith”) is a director of the Company.

       15.    Defendant Cathy Stauffer (“Stauffer”) is a director of the Company.

       16.    Defendant Robert S. Tyrer (“Tyrer”) is a director of the Company.

       17.    Defendant John W. Wood, Jr. (“Wood”) is a director of the Company.

       18.    Defendant Steven E. Wynne (“Wynne”) is a director of the Company.

       19.    Defendants Lewis, Cannon, Carter, Crouch, Halligan, Macdonald, Smith, Stauffer,

Tyrer, Wood, and Wynne are collectively referred to herein as the “Individual Defendants.”

       20.    Defendants FLIR and the Individual Defendants are collectively referred to herein

as the “Defendants.”

                             SUBSTANTIVE ALLEGATIONS

   A. The Proposed Transaction

       21.    On January 4, 2021, FLIR and Teledyne announced that they had entered into a

definitive agreement under which Teledyne would acquire FLIR in a cash and stock transaction.



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Under the terms of the agreement, FLIR shareholders would receive $28.00 per share in cash and

0.0718 shares of Teledyne common stock for each FLIR share. The press release announcing the

Proposed Transaction states, in pertinent part:

                              Teledyne to Acquire FLIR Systems

              Cash and Stock Transaction Valued at Approximately $8.0 Billion

          Teledyne and FLIR to Host Joint Conference Call and Webcast at 11:00 a.m.
                                       Eastern Today

       January 04, 2021 06:45 AM Eastern Standard Time

       THOUSAND OAKS, Calif. & ARLINGTON, Va.--(BUSINESS WIRE)--
       Teledyne Technologies Incorporated (NYSE:TDY) (“Teledyne”) and FLIR
       Systems, Inc. (NASDAQ:FLIR) (“FLIR”) jointly announced today that they have
       entered into a definitive agreement under which Teledyne will acquire FLIR in a
       cash and stock transaction valued at approximately $8.0 billion.

       Under the terms of the agreement, FLIR stockholders will receive $28.00 per share
       in cash and 0.0718 shares of Teledyne common stock for each FLIR share, which
       implies a total purchase price of $56.00 per FLIR share based on Teledyne’s 5-day
       volume weighted average price as of December 31, 2020. The transaction reflects
       a 40% premium for FLIR stockholders based on FLIR’s 30-day volume weighted
       average price as of December 31, 2020.

       As part of the transaction, Teledyne has arranged a $4.5 billion 364-day credit
       commitment to fund the transaction and refinance certain existing debt. Teledyne
       expects to fund the transaction with permanent financing prior to closing. Net
       leverage at closing is expected to be approximately 4.0x adjusted pro forma
       EBITDA with leverage declining to less than 3.0x by the end of 2022.

       Teledyne expects the acquisition to be immediately accretive to earnings, excluding
       transaction costs and intangible asset amortization, and accretive to GAAP earnings
       in the first full calendar year following the acquisition.

                                         *        *    *

       Approvals and Timing

       The transaction, which has been approved by the boards of directors of both
       companies, is expected to close in the middle of 2021 subject to the receipt of
       required regulatory approvals, including expiration or termination of the applicable



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       waiting period under the Hart-Scott-Rodino Antitrust Improvements Act, approvals
       of Teledyne and FLIR stockholders and other customary closing conditions.

       Advisors

       Evercore is acting as exclusive financial advisor and McGuireWoods LLP is acting
       as legal advisor to Teledyne in connection with the transaction. Goldman Sachs &
       Co. LLC is acting as exclusive financial advisor and Hogan Lovells US LLP is
       acting as legal advisor to FLIR in connection with the transaction. Teledyne has
       entered into a 364-day senior unsecured bridge facility credit agreement with Bank
       of America as sole lead arranger and administrative agent.

                                        *      *      *

       About Teledyne

       Teledyne is a leading provider of sophisticated instrumentation, digital imaging
       products and software, aerospace and defense electronics, and engineered systems.
       Teledyne’s operations are primarily located in the United States, Canada, the
       United Kingdom, and Western and Northern Europe. For more information, please
       visit www.teledyne.com.

       About FLIR

       Founded in 1978, FLIR is a world-leading industrial technology company focused
       on intelligent sensing solutions for defense and industrial applications. FLIR’s
       vision is to be “The World’s Sixth Sense,” creating technologies to help
       professionals make more informed decisions that save lives and livelihoods. For
       more information, please visit www.flir.com

       22.    On March 4, 2021, Defendants caused to be filed with the SEC a Form S-4

Registration Statement (the “Registration Statement”) under the Securities Act of 1933 in

connection with the Proposed Transaction.

   B. The Registration Statement Contains Materially False and Misleading Statements
      and Omissions

       23.    The Registration Statement, which recommends that FLIR shareholders vote in

favor of the Proposed Transaction, omits and/or misrepresents material information concerning:

(i) FLIR’s and Teledyne’s financial projections; (ii) the financial analyses performed by FLIR’s

financial advisor, Goldman Sachs & Co. LLC (“Goldman Sachs”), in connection with its fairness


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opinion; (iii) the sales process leading up to the Proposed Transaction; and (iv) potential conflicts

of interest involving Goldman Sachs.

       24.      The omission of the material information (referenced below) renders the following

sections of the Registration Statement false and misleading, among others: (i) Background of the

Mergers; (ii) FLIR’s Reasons for the Mergers; Recommendation of the FLIR Board of Directors;

(iii) Opinion of FLIR’s Financial Advisor; (iv) Unaudited Prospective Financial Information Used

by the FLIR Board of Directors and FLIR’s Financial Advisor; and (v) Unaudited Prospective

Financial Information Used by the Teledyne Board of Directors and Teledyne’s Financial Advisor.

       25.      Unless and until the material misstatements and omissions (referenced below) are

remedied before the anticipated shareholder vote on the Proposed Transaction, FLIR shareholders

will be forced to make a voting decision on the Proposed Transaction without full disclosure of all

material information. In the event the Proposed Transaction is consummated, Plaintiff may seek

to recover damages resulting from Defendants’ misconduct.

             1. Material Omissions Concerning FLIR’s and Teledyne’s Financial
                Projections

       26.      The Registration Statement omits material information concerning FLIR’s and

Teledyne’s financial projections.

       27.      With respect to the “FLIR Projections,” the Registration Statement fails to disclose

the following: (1) all line items underlying (i) Revenue, (ii) Net Income, (iii) Adjusted EBITDA,

(iv) Unlevered Free Cash Flow, and (v) Adjusted EPS; and (2) a reconciliation of all non-GAAP

to GAAP financial metrics.

       28.      With respect to the “Teledyne Projections,” the Registration Statement fails to

disclose the following: (1) all line items underlying (i) Revenue, (ii) Net Income, (iii) Adjusted

EBITDA, and (iv) Free Cash Flow; and (2) a reconciliation of all non-GAAP to GAAP financial


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metrics.

       29.     With respect to the “Teledyne Pro Forma Projections,” the Registration Statement

fails to disclose the following: (1) all line items underlying (i) Revenue, (ii) Adjusted EBITDA,

(iii) Unlevered Free Cash Flow, and (iv) Adjusted EPS; (2) the combined company’s net income

projections; and (3) a reconciliation of all non-GAAP to GAAP financial metrics.

       30.     When a company discloses non-GAAP financial metrics in a Registration

Statement, the company must also disclose all projections and information necessary to make the

non-GAAP metrics not misleading, and must provide a reconciliation (by schedule or other clearly

understandable method) of the differences between the non-GAAP financial metrics disclosed or

released with the most comparable financial metrics calculated and presented in accordance with

GAAP. The SEC has increased its scrutiny of a company’s use of non-GAAP financial measures

as such measures can be misleading and “crowd out” more reliable GAAP information. 1

       31.     The disclosure of this information is material because it would provide the

Company’s shareholders with a basis to project the future financial performance of the Company

and combined company and would allow shareholders to better understand the financial analyses

performed by the Company’s financial advisor in support of its fairness opinion. Shareholders

cannot hope to replicate management’s inside view of the future prospects of the Company.

Without such information, which is uniquely possessed by Defendant(s) and the Company’s



1
  Mary Jo White, Keynote Address, International Corporate Governance Network Annual
Conference: Focusing the Lens of Disclosure to Set the Path Forward on Board Diversity, Non-
GAAP, and Sustainability (June 27, 2016), https://www.sec.gov/news/speech/chair-white-icgn-
speech.html (footnotes omitted) (last visited Mar. 23, 2021) (“And last month, the staff issued
guidance addressing a number of troublesome practices which can make non-GAAP disclosures
misleading: the lack of equal or greater prominence for GAAP measures; exclusion of normal,
recurring cash operating expenses; individually tailored non-GAAP revenues; lack of consistency;
cherry-picking; and the use of cash per share data. I strongly urge companies to carefully consider
this guidance and revisit their approach to non-GAAP disclosures.”).

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financial advisor, the Company’s shareholders are unable to determine how much weight, if any,

to place on the Company’s financial advisor’s fairness opinion in determining whether to vote for

or against the Proposed Transaction.

       32.      The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s shareholders.

             2. Material Omissions Concerning Goldman Sachs’ Analyses

       33.      In connection with the Proposed Transaction, the Registration Statement omits

material information concerning analyses performed by Goldman Sachs.

       34.      The Registration Statement fails to disclose the following concerning Goldman

Sachs’ “Illustrative Discounted Cash Flow Analysis”: (1) the individual inputs and assumptions

underlying the (i) discount rates ranging from 6.50% to 9.00%, (ii) multiples ranging from 12.0x

to 15.0x, and (iii) perpetuity growth rates ranging from 0.5% to 3.9%; (2) all line items underlying

the unlevered free cash flow for FLIR for the years 2021 to 2025; (3) the range of illustrative

terminal values for FLIR; (4) the net debt of FLIR as of December 31, 2020; and (4) the number

of fully diluted outstanding FLIR common stock.

       35.      The Registration Statement fails to disclose the following concerning Goldman

Sachs’ “Illustrative Present Value of Future Share Price Analysis” for FLIR: (1) the individual

inputs and assumptions underlying the (i) multiples ranging from 16.0x to 20.0x, and (ii)

illustrative discount rate of 8.25%; and (2) the cumulative dividends per share expected to be paid

to FLIR stockholders in each of the years 2021 to 2024.

       36.      With respect to Goldman Sachs’ “Selected Transactions Analysis,” the Registration

Statement fails to disclose the objective criteria, if any, that Goldman Sachs relied upon in selecting

the transactions, as well as the overall transaction values and premiums paid therein.

       37.      With respect to Goldman Sachs’ “Premia Analysis,” the Registration Statement

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fails to disclose each transaction and the premiums paid therein.

       38.      With respect to Goldman Sachs’ “Illustrative Present Value of Future Share Price

Analysis” of the combined company, the Registration Statement fails to disclose the individual

inputs and assumptions underlying the (i) multiples ranging from 28.0x to 34.0x, and (ii)

illustrative discount rate of 8.25%.

       39.      The valuation methods, underlying assumptions, and key inputs used by

Goldman Sachs in rendering its purported fairness opinion must be fairly disclosed to FLIR

shareholders. The description of Goldman Sachs’ fairness opinion and analyses, however, fails to

include key inputs and assumptions underlying those analyses. Without the information described

above, FLIR shareholders are unable to fully understand Goldman Sachs’ fairness opinion and

analyses, and are thus unable to determine how much weight, if any, to place on them in

determining whether to vote for or against the Proposed Transaction. This omitted information, if

disclosed, would significantly alter the total mix of information available to the Company’s

shareholders.

             3. Material Omissions Concerning the Sales Process Leading up to the Proposed
                Transaction

       40.      The Registration Statement omits material information concerning the sales process

leading up to the Proposed Transaction.

       41.      Th Registration Statement provides that, during the sales process, Defendant Smith,

who serves on the FLIR Board and Teledyne’s board, “unwittingly” shared an email with Robert

Mehrabian, the Executive Chairman of the Board of Teledyne, stating in pertinent part:

       On December 17, 2020, Mr. Smith forwarded to Dr. Mehrabian an email that had
       attached to it a recent article on opportunities for FLIR sensors in the autonomous
       vehicle market in the event that Dr. Mehrabian had not seen the article. In doing so,
       Mr. Smith unwittingly also shared an email exchange among the FLIR Board
       members, which included commentary from Mr. Cannon on the U.S. Air Force
       program of record opportunity he believed FLIR would not win, and also noted

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         that, as previously announced, FLIR had won the much larger U.S. Army version
         of such program.

         42.      The Registration Statement, however, fails to disclose: (1) the steps Defendant

 Smith and the Board took after discovering Defendant Smith “unwittingly” revealed such

 information to Dr. Mehrabian; and (2) whether and how Defendant Smith’s email affected the

 sales process and the terms of the Proposed Transaction.

         43.      The above-referenced omitted information, if disclosed, would significantly alter

 the total mix of information available to the Company’s shareholders.

     4. Material Omissions Concerning Goldman Sachs’ Potential Conflicts of Interest

         44.      The Registration Statement omits material information concerning potential

 conflicts of interest involving Goldman Sachs.

         45.      While the Registration Statement discloses that “the Investment Banking Division

 of Goldman Sachs has not been engaged by FLIR, Teledyne or their respective affiliates to provide

 financial advisory or underwriting services for which Goldman Sachs has recognized

 compensation” during the “two year period ended December 20, 2020,” the Registration Statement

 fails to disclose any services and fees provided by Goldman Sachs to those parties during the two-

 year period leading up to the issuance of its January 4, 2021 fairness opinion. See 17 CFR §

 229.1015(b)(4).

         46.      Disclosure of a financial advisor’s compensation and potential conflicts of interest

 is necessary due to their central role in the evaluation, exploration, selection, and implementation

 of strategic alternatives and the rendering of any fairness opinions. Disclosure of a financial

 advisor’s potential conflicts of interest may inform shareholders on how much weight to place on

 that analysis.

         47.      The omission of the above-referenced information renders the Registration


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 Statement materially incomplete and misleading. This information, if disclosed, would

 significantly alter the total mix of information available to FLIR shareholders.

                                           COUNT I
           For Violations of Section 14(a) and Rule 14a-9 Promulgated Thereunder
                                    Against All Defendants
         48.     Plaintiff repeats and realleges each and every allegation contained above as if fully

 set forth herein.

         49.     During the relevant period, Defendants, individually and in concert, directly or

 indirectly, disseminated or approved the false and misleading Registration Statement specified

 above, which failed to disclose material facts necessary in order to make the statements made, in

 light of the circumstances under which they were made, not misleading, in violation of Section

 14(a) of the Exchange Act and Rule 14a-9 promulgated thereunder by the SEC.

         50.     Each of the Individual Defendants, by virtue of his/her positions within the

 Company as officers and/or directors, were aware of the omitted information but failed to disclose

 such information, in violation of Section 14(a) of the Exchange Act. Defendants, by use of the

 mails and means and instrumentalities of interstate commerce, solicited and/or permitted the use

 of their names to file and disseminate the Registration Statement with respect to the Proposed

 Transaction. The Defendants were, at minimum, negligent in filing the materially false and

 misleading Registration Statement.

         51.     The false and misleading statements and omissions in the Registration Statement

 are material in that a reasonable shareholder would consider them important in deciding how to

 vote on the Proposed Transaction.

         52.     By reason of the foregoing, Defendants have violated Section 14(a) of the Exchange

 Act and Rule 14a-9 promulgated thereunder.

         53.     Because of the false and misleading statements and omissions in the Registration

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 Statement, Plaintiff is threatened with irreparable harm.

                                             COUNT II
                          Violations of Section 20(a) of the Exchange Act
                                Against the Individual Defendants

        54.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

 paragraphs as if fully set forth herein.

        55.     The Individual Defendants acted as control persons of the Company within the

 meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their senior positions

 as officers and/or directors of the Company and participation in and/or awareness of the

 Company’s operations and/or intimate knowledge of the false statements contained in the

 Registration Statement filed with the SEC, they had the power to and did influence and control,

 directly or indirectly, the decision-making of the Company, including the content and

 dissemination of the false and misleading Registration Statement.

        56.     Each of the Individual Defendants was provided with or had unlimited access to

 copies of the Registration Statement and other statements alleged by Plaintiff to be misleading

 prior to and/or shortly after these statements were issued and had the ability to prevent the issuance

 of the statements or cause the statements to be corrected. As officers and/or directors of a publicly

 owned company, the Individual Defendants had a duty to disseminate accurate and truthful

 information with respect to the Registration Statement, and to correct promptly any public

 statements issued by the Company which were or had become materially false or misleading.

        57.     In particular, each of the Individual Defendants had direct and supervisory

 involvement in the operations of the Company, and, therefore, is presumed to have had the power

 to control or influence the particular transactions giving rise to the securities violations as alleged

 herein, and exercised the same. The Individual Defendants were provided with or had unlimited



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 access to copies of the Registration Statement and had the ability to prevent the issuance of the

 statements or to cause the statements to be corrected. The Registration Statement at issue contains

 the recommendation of the Individual Defendants to approve the Proposed Transaction. Thus, the

 Individual Defendants were directly involved in the making of the Registration Statement.

        58.     In addition, as the Registration Statement sets forth at length, and as described

 herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

 Proposed Transaction. The Registration Statement purports to describe the various issues and

 information that they reviewed and considered—descriptions which had input from the Individual

 Defendants.

        59.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

 of the Exchange Act.

        60.     As set forth above, the Individual Defendants had the ability to exercise control

 over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9

 promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their positions

 as controlling persons, the Individual Defendants are liable pursuant to Section 20(a) of the

 Exchange Act. As a direct and proximate result of Defendants’ conduct, the Company’s

 shareholders will be irreparably harmed.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment and relief as follows:

        A.      Preliminarily and permanently enjoining Defendants and all persons acting in

 concert with them from proceeding with, consummating, or closing the Proposed Transaction and

 any vote on the Proposed Transaction, unless and until Defendants disclose and disseminate the

 material information identified above to Company shareholders;



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        B.      In the event Defendants consummate the Proposed Transaction, rescinding it and

 setting it aside or awarding rescissory damages;

        C.      Declaring that Defendants violated Sections 14(a) and 20(a) of the Exchange Act,

 and Rule 14a-9 promulgated thereunder;

        D.      Awarding Plaintiff reasonable costs and expenses incurred in this action, including

 counsel fees and expert fees; and

        E.      Granting such other and further relief as the Court may deem just and proper.

                                     JURY TRIAL DEMANDED

        Plaintiff hereby demands a trial by jury.

 Dated: March 23, 2021                               Respectfully submitted,

                                                     HALPER SADEH LLP

                                                     By: /s/ Daniel Sadeh
                                                     Daniel Sadeh, Esq.
                                                     Zachary Halper, Esq. (to be admitted pro hac
                                                     vice)
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                                                     Counsel for Plaintiff




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